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                                                               Exhibit A to the Complaint
Location: Collegeville, PA                                                                                IP Address: 108.2.148.191
Total Works Infringed: 29                                                                                 ISP: Verizon Fios
 Work            Info Hash                                  UTC                  Site                 Published         Registered    Registration
 1               1A76A113C1D33455F6FB4D100985C9DA1974F425          04/10/2025    Vixen                07/22/2022        08/30/2022    PA0002367741
                                                                      12:33:36
 2               4D39C100FCBA34C0594394F40B59A034396688F6          04/08/2025    Vixen                07/26/2024        08/15/2024    PA0002484850
                                                                      07:33:38
 3               37C40E4C9D59803C78FFAACFDC3986897B2E973F          04/07/2025    Tushy                02/23/2025        03/28/2025    PA0002522498
                                                                      22:03:20
 4               5300B9A5A4C54B6D9E237B73534FD11A4333DA8D          03/31/2025    Tushy                03/30/2025        04/22/2025    PA0002526944
                                                                      16:46:35
 5               7E4FC74E0FD6AFB670B07F4F2D99EC1C070B7A42          03/15/2025    Milfy                03/05/2025        03/28/2025    PA0002522501
                                                                      03:46:38
 6               B0200BC886AD0B6BC2DAE7F27B7992A966BF207F          02/17/2025    Tushy                12/22/2024        01/16/2025    PA0002509285
                                                                      00:57:51
 7               EF35973AB04D713E637297399A8004E6B955D5DC          02/09/2025    TushyRaw             02/06/2025        02/18/2025    PA0002515899
                                                                      23:06:49
 8               6985ea7aa289b2501e9050375c3c61de820403f3          01/20/2025    Vixen                08/26/2022        10/05/2022    PA0002373767
                                                                      16:16:15
 9               355fd4ba792cb16cdc72d6b920fb221c5a453461          01/09/2025    Milfy                01/08/2025        01/16/2025    PA0002509390
                                                                      13:16:11
 10              D41B2CF5A6F513982AB6A6D69527010DFBF38F3E          12/21/2024    Vixen                12/20/2024        01/16/2025    PA0002509655
                                                                      13:46:57
 11              D2B852E789DE97155088E670102B0F40540FE97B          11/22/2024    Milfy                11/20/2024        12/13/2024    PA0002506260
                                                                      19:21:04
 12              adac1b93fda6beb3d3fc20e3b3c440b5060b4f8a          11/18/2024    Tushy                10/23/2018        11/25/2018    PA0002136621
                                                                      14:15:01
 13              87936624e8efe7fe5dfe00fe1f693fe057ee9796          11/14/2024    Tushy                11/12/2018        12/10/2018    PA0002145826
                                                                      20:48:10
 14              8F934293D68F6AB99E04F77935C0C0B57090809F          11/05/2024    Vixen                10/25/2024        11/18/2024    PA0002500931
                                                                      20:37:56
 15              7D1795246923B0F912DC5E45FDF6E39D24EFE8ED          11/05/2024    Milfy                10/30/2024        11/18/2024    PA0002500968
                                                                      17:54:20
 16              2A0B2E677AEFD8B57EFA950608EF81250CA7D80E          11/05/2024    Vixen                11/01/2024        11/18/2024    PA0002500861
                                                                      17:39:19
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Work   Info Hash                                  UTC                 Site                 Published         Registered   Registration
17     cecf6796cb1f2236876a57cb041910edf72858a8         09/26/2024    Blacked Raw          05/02/2018        06/19/2018   PA0002126647
                                                           18:59:29
18     A68264E6A4F16004A1448280E6E10238EC3665E6         09/26/2024    Vixen                03/10/2023        04/09/2023   PA0002405759
                                                           15:25:23
19     C4F37C5ED5B46F5B6EF06BB7ECBBD0DD58C3BDA3         09/26/2024    Milfy                09/25/2024        10/16/2024   PA0002494687
                                                           13:12:17
20     aa2fbb40b48e0adc1cc9e7d78264108882abb416         09/26/2024    Slayed               02/14/2023        04/13/2023   PA0002406900
                                                           00:25:35
21     3ff8336c73b3d9d9c150f9294ad54660f2c0f82c         09/26/2024    Blacked              10/28/2023        11/13/2023   PA0002439611
                                                           00:05:31
22     e0df74d3d7e4f9a54dd02ca099d473a51bf2282f         09/23/2024    TushyRaw             09/10/2024        09/18/2024   PA0002490434
                                                           16:38:17
23     cf95d6fdc8b8efaeeb2c28d1985b9352519c20d3         09/18/2024    Slayed               03/19/2024        06/25/2024   PA0002477540
                                                           04:28:22
24     d376f722bd856af3181980af6e6f8b35c9d10939         09/17/2024    Vixen                03/19/2021        04/14/2021   PA0002286735
                                                           16:10:51
25     d9f3d51e7df1fe22973cf525994262324bc36feb         09/17/2024    Vixen                01/14/2018        01/22/2018   PA0002101751
                                                           15:53:04
26     5ea728058f8873434f4294f750d2ff05b375260c         09/17/2024    Blacked              07/29/2018        09/05/2018   PA0002135679
                                                           15:00:22
27     293c627fcc334a0572fb6fe60d1ff8047bfcb13d         09/17/2024    Tushy                03/27/2022        04/23/2022   PA0002346427
                                                           14:44:23
28     556EBACF86AB28B054EE215F276F0B038CD9206F         09/16/2024    Tushy                09/08/2024        09/18/2024   PA0002490458
                                                           15:17:12
29     A2AD39B72922AD0A7D1250D7B917E88822B7E56D         09/16/2024    Tushy                02/25/2024        03/12/2024   PA0002459336
                                                           15:12:51
